    Case 21-20687        Doc 829       Filed 09/20/22       Entered 09/20/22 16:48:43              Page 1 of 2




                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                     HARTFORD DIVISION

    In re:

    THE NORWICH ROMAN CATHOLIC                             Chapter 11
    DIOCESAN CORPORATION,1
                                                           Case No: 21-20687 (JJT)
                          Debtor.



             ORDER CONTINUING HEARING ON FIFTH EXTENSION OF DEBTOR’S
             EXCLUSIVE PERIODS TO FILE AND SOLICIT A CHAPTER 11 PLAN OF
                     REORGANIZATION UNTIL SEPTEMBER 28, 2022


             Upon the motion (the “Motion”, ECF No. 828) of the Diocese,2 pursuant to Section

    105(a) of Title 11 of the United States Code (the “Bankruptcy Code”) and Rule 9006(b)(1) of
    the Federal Rules of Bankruptcy Procedure, to continue the hearing currently scheduled on

    the Exclusivity Motion (ECF No. 815) from Wednesday, September 21, 2022 to Wednesday,

    September 28, 2022; and the Court having reviewed the Motion; and the Court having found

    that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334(b); and the

    Court having found this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

    Court having found that venue of this case and the Motion in this District is proper pursuant

    to 28 U.S.C. §§ 1408 and 1409; and it appearing that proper and adequate notice of

    the Motion has been given, under the circumstances, and that no other or further notice is

    necessary; and upon the record herein; and it appearing that cause exists to grant the relief sought

    in the Motion; it is hereby

             ORDERED, ADJUDGED and DECREED that:

1
   The Debtor in this chapter 11 case is The Norwich Roman Catholic Diocesan Corporation, a/k/a The Roman Catholic
Diocese of Norwich. The last four digits of the Debtor’s federal tax identification number are 7373.
2
    Capitalized terms used but not defined herein have the meanings given in the Motion, which are incorporated by
reference herein.
Case 21-20687       Doc 829     Filed 09/20/22       Entered 09/20/22 16:48:43     Page 2 of 2




       1.      The Motion is GRANTED as set forth herein.

       2.      The hearing on the Exclusivity Motion [Dkt. No. 815] is hereby continued to

September 28, 2022 at 2:00 p.m.

       3.      The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation and/or interpretation of this Order.

                     Dated at Hartford, Connecticut this 20th day of September, 2022.




                                               -2-
